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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

VOLKSWAGEN GROUP OF AMERICA,
INC.,                                                Case No. 20-cv-03128

               Plaintiff,                            Judge John F. Kness
v.
                                                     Magistrate Judge Young B. Kim
AUKUR-US, et al.,

               Defendants,


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Volkswagen

Group of America, Inc. (“Plaintiff”) hereby dismisses this action with prejudice as to the following

Defendant:

                Defendant Name                                          Line No.
                    JSAMZ                                                  8

Dated this 7th day of August 2020.            Respectfully submitted,


                                              /s/ Allyson M. Martin____________
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                                              Justin R. Gaudio
                                              Allyson M. Martin
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